           Case 2:06-cr-00035-MCE Document 106 Filed 07/20/06 Page 1 of 2


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 6
                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     United States of America,             ) Case No. 2:06-cr-0035 MCE
 8             Plaintiff,                  )
          vs.                              ) DATE: July 19, 2006
 9
                                           ) TIME: 8:30 a.m.
10
     Zachary Jenson,                       ) COURT: Hon. Morrison C. England,
               Defendant.                  ) Jr.
11                                         )
                                           ) Stipulation and Proposed Order
12                                         ) Re: Defendant’s Release on
                                           ) Conditions Pending Sentencing
13

14

15         Zachary Jenson pled guilty on July 18, 2006 to one count
16
     of Conspiracy in violation of 18 U.S.C. § 371.         Mr. Jenson’s
17
     guilty plea is a changed circumstance from the time the
18
     government opposed his release on conditions.         The maximum
19

20   potential penalty Mr. Jenson faces is five years.         Pre-trial

21   services has recommended that Mr. Jenson be released to live
22
     with his father, John Jenson, in Seattle, Washington.          Mr.
23
     Jenson’s mother will post her mutual fund as secured collateral
24
     and a family friend will post his stock portfolio, for a total
25

26   posting of approximately $50,000.        As part of his conditions of

27   release Mr. Jenson will be on electronic monitoring, and he will
28



                                       1
          Case 2:06-cr-00035-MCE Document 106 Filed 07/20/06 Page 2 of 2


     have mandatory counseling, a no drug or alcohol condition and no
 1

 2   internet access.

 3        The government has reviewed pre-trial services proposed
 4
     conditions and does not oppose his release under these terms and
 5
     conditions.   The parties ask that the Court sign the attached
 6
     release order allowing Mr. Jenson to remain in the third party
 7

 8   custody of his father pending sentencing in this matter.

 9   Dated: July 20, 2006
                                            Respectfully submitted,
10

11
                                              _/s/ Shari Rusk______
12                                            Shari Rusk
                                              Attorney for Defendant
13
                                              Zachary Jenson
14

15   Dated: July 20, 2006                     /s/ R. Steven Lapham
                                              R. Steven Lapham
16
                                              Assistant U.S. Attorney
17

18
                                ORDER
19

20
          IT IS SO ORDERED that Zachary Jenson be released on the

21   and conditions required by pre-trial services from time to time.
22

23
     Dated: July 20, 2006

24

25
                                     MORRISON C. ENGLAND, JR.
26
                                     UNITED STATES DISTRICT JUDGE
27

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